             Case 08-13141-BLS         Doc 4922-3      Filed 07/01/10      Page 1 of 1




                                 CERTIFICATE OF SERVICE

I hereby certify that on this 1st day of July, 2010, I caused a copy of the foregoing to be served
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                                                      /s/ Brian A. Sullivan
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